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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON




Wild Goose Enterprises, Inc.,

                               Plaintiff,
v.                                                                          Case No. 3:20-cv-340
                                                                           Judge Thomas M. Rose

Iron Flame Technologies, Inc.,

                               Defendant.



       ENTRY AND ORDER GRANTING MOTION                                   FOR      DEFAULT
       JUDGMENT, ECF 32, AND TERMINATING CASE



       Pending before the Court is Motion for Default Judgment. ECF 32. Therein, Plaintiff Wild

Goose Enterprises, Inc. asserts that, pursuant to Federal Rule of Civil Procedure 55, it is entitled to

default judgment against Defendant Iron Flame Technologies, Inc.

       Because Plaintiff is entitled to it, the motion is GRANTED and summary judgment is

AWARDED to Plaintiff Wild Goose Enterprises, Inc., whose address is 118 West 1st Street, Suite

1308, Dayton, OH 45402. Plaintiff shall recover from Defendant Iron Flame Technologies, Inc.

whose address is 111 South Calvert Street, Suite 1806 Baltimore, Maryland, the sum of Nine

Hundred Twenty-Three Thousand Four Hundred Twenty-Eight Dollars and Forty-Six Cents

($923,428.46); plus Fifty-Four Thousand Five Hundred Ninety-One Dollars and Fifty-Nine Cents

($54,591.59) in accrued statutory interest through August 5, 2021; plus an award of 0.07 percent




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annual interest ongoing until said judgment is paid in full; plus an award of all attorneys' fees to

be incurred in the collection of this judgment.

       The instant case is TERMINATED on the dockets of the United States District Court for

the Southern District of Ohio, Western Division at Dayton.

       DONE and ORDERED in Dayton, Ohio, this Wednesday, September 1, 2021.



                                                                        s/Thomas M. Rose
                                                          ________________________________
                                                                        THOMAS M. ROSE
                                                          UNITED STATES DISTRICT JUDGE




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